                    Case 1:23-cr-00140-ACR Document 28 Filed 04/28/23 Page 1 of 1
   Rev: 




                                       UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA
                  vs.                                       Criminal No.               23-140


  DODGE DALE HELLONEN
                                                         Category     A




                          Defendant(s)



                                      REASSIGNMENT OF CRIMINAL CASE


   The above-entitled case was reassigned on            4/28/2023      from Judge Jia M. Cobb

to Judge Ana C. Reyes                             by direction of the Calendar Committee.



                                      (Defendant is a Fugitive)


                                                                  JUDGE 58'2/3+&2175(5$6
                                                                  Chair, Calendar and Case
                                                                  Management Committee




   cc:            Judge Jia M. Cobb                               & Courtroom Deputy
                  Judge Ana C. Reyes                              & Courtroom Deputy

                  U.S. Attorney’s Office – Judiciary Square Building, Room 5133
                  Statistical Clerk
